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  February 12, 2019

  Landlord Evicted HSG Foods, LLC from 534-536 S. Reynolds Road.
  Liquor License was actually issued for 532 and 534 NOT 536
  There is no permit for 536, but, HUSH SHOWGIRLS was operating there without a permit for 536 S.
  Reynolds, LLC

  October 25, 2019

  Nabil Shaheen filed for SUP-9008-19 for location 536 S. Reynolds Road, Toledo OH 43615
  The HSG v. South Reynolds, LLC case in common pleas was ongoing from February 12, 2019-
  September 8, 2021

  536 S. Reynolds.


  November 7, 2019

  Regularly Scheduled Planning Commission Meeting was held. Mr. Nabil Shaheen
  Report was mailed to Nabil Shaheen at 6930 Door Street. Planning Commission President indicated
  he went to the site location and spoke with someone about construction expansion between the
  gaming facility                    Kurt Rillema would have known that information. Nabil would
  have received information from Nabil to approve the lease. There was never a lease transaction. As
  you can read below,                                               2019. That would
  after Nabil allegedly purchased the location. Nabil                       in the lease
  Reynolds,                  OH 43615. But he used

  The Planning Commission also states in the Public Meeting that the City Council will meet on
  December 11, 2019 for approval. There was no council meeting that day.

  Audio Clip below




  November 13, 2019

  Planning Commission Recommended City Counsel approve the Special Use Permit Number SUP-
  9008-19 with conditions. This permit recommendation was for an occupied location with ongoing
  litigation not containing the permitted use requested.

                                          d Use Specific Regulations stating:
     1. No Sweepstakes exist within 2000 feet.
     2. No schools were within 1000 feet.
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              ·         Both of those were incorrect. The Talk N Win was operating                       ,
                                             536 S. Reynolds. The Report even states that the
                  requested location is between Hush Showgirls and

              ·         Horizon School is approximately 335 feet from the edge of the property and has
                  been at that location since 2005.

  There were 7 Specific Conditions required before the issuance of the SUP-9008-19
  None of them were met. A gaming location may not be adjacent to adult entertainment. The gaming
  location was operating illegally. This may not have been known until after the Dabish’s conviction.
  However, none of the other conditions, including the parking spots and curb cuts were done.




  January 2, 2020

  City Council Approves permit stating all conditions required have been met
  Report Attached


  May 23, 2018- November 6, 2023

  Nabil Shaheen was an undercover informant for the FBI. He was indicted as case 3:23-cr-         . His
  sentencing memorandum attached. He entered into an agreement with the Dabish’s, he claims, to
  buy an illegal gaming operation                               Shaheen has                . He is a
  sophisticated businessman and served as the President of a Retail lobbying association wherein he
  has allegedly bribed city official for influence. Based on the Recommendations and Vote, perhaps its
  deeper than the 4 persons indicted.

  Records show that no fees have been paid for required permits due on June 1 every year. The fee is
  $5000 and 250 per machine. Talk N Win has never paid. Mr. Shaheen has never paid. He has


              Hirsch is the current manager. She was the manager in        . She uses the same PO Box
  as the Dabish’s. She pays Kurt Rillema $54,000 a year in cash annually. She has informed me that she
  pays Kurt’s wife and son currently.

  Kurt Rillema and I were partners in a business 522 Reynolds, LLC. The property was owned by the
  LLC. Rillema is currently under indictment for two cold case Rapes- 1 in Pennsylvania and 1 in
  Michigan. Rillema has formed some alliance between Ara Darakjian in Birmingham, MI, and
  convicted sex offender Randy Merer. They have concocted this plan to run a strip club and filed to
  have a teacher in New Jersey (Merer’s brother in-law) named Jeremy Martin as the liquor license
  holder. They have wired money to Attorney                                         then asked for it
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  back only to wire more back. Seems to fit a laundering scheme.

  If Shaheen noticed the FBI during his cooperation with the other
                                               no license after he was an informant seems

            orders.

  Rillema has failed to do any of the legal requirements of the LLC.            to correct this, but have
                       the attention of people.           probable that there is human trafficking
  occurring through the closed strip club


             information, research,            there is no license to operate a gaming facility at any
  retail location within the 550 S. Reynolds Road property and they are paying cash payments to Kurt
  Rillema and have done so since April 20                     Nabil entered a plea in               , he
                                                                    Toledo Police, BCI, Attorney General
  of Ohio, Department of Liquor Control, and the Casino Gaming Commission.




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